Opinion issued August 22, 2024




                                      In The

                               Court of Appeals
                                      For The

                          First District of Texas
                             ————————————
                               NO. 01-23-00353-CR
                            ———————————
                         JOSE GONZALES, Appellant
                                         V.
                       THE STATE OF TEXAS, Appellee


           On Appeal from the County Criminal Court at Law No. 8
                            Harris County, Texas
                        Trial Court Case No. 2392807


                          MEMORANDUM OPINION

      This appeal was abated for further proceedings in the trial court. Appellant

Jose Gonzales subsequently filed a motion to dismiss this appeal. The motion to

dismiss complies with Rule of Appellate Procedure 42.2(a), and no prior decision

has issued in this appeal. See TEX. R. APP. P. 42.2(a)–(b). Accordingly, we reinstate
the appeal, grant the motion, and dismiss the appeal. See TEX. R. APP. P. 43.2(f). We

dismiss any other pending motions as moot.

                                  PER CURIAM

Panel consists of Justices Goodman, Guerra, and Farris.

Do not publish. TEX. R. APP. P. 47.2(b).




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